            Case 1:19-cr-01434-JB Document 53 Filed 10/20/21 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                             )
                                                      )
                                                      )
         Plaintiff,                                   )      Case No. CR 19-1434 JB
                                                      )
vs.                                                   )
                                                      )
LYRON WOOLRIDGE,                                      )
                                                      )
         Defendant.                                   )


                      OPPOSED EMERGENCY MOTION FOR FURLOUGH
                       (FOR CONSIDERATION BY MAGISTRATE JUDGE)
         Lyron Woolridge, through counsel, Assistant Federal Public Defender Melissa Ayn

Morris, moves this Court on an emergency basis for a furlough to attend his grandfather’s

funeral. As grounds for this motion, Mr. Woolridge would show the Court the following:

      1. On October 18, 2021, Mr. Woolridge’s grandfather, Larry Woolridge, Sr. with whom he

         was very close, passed away after a long decline following an accident that left him

         paralyzed.

      2. Larry Woolridge’s viewing and memorial service will both be held on Saturday, October

         23, 2021. The viewing will be held at Daniel Funeral Home on Wyoming and Paseo Del

         Norte, from 2:00 pm to 3:00 pm. The memorial service will then be held from 4:00 pm

         to 7:00 pm at Open Door Ministry Church located at 3rd Street and Iron Street.

      3. Lyron Woolridge is currently detained at the Cibola County Correctional Center pending

         sentencing.
           Case 1:19-cr-01434-JB Document 53 Filed 10/20/21 Page 2 of 2




   4. Mr. Woolridge would like to attend the viewing and memorial service for his grandfather.

       He proposes his sister, Layla Woolridge, pick him up from Cibola County Correctional

       Center at 9:00 am on October 23, 2021, and return him to confinement by 9:00 pm the

       same day.

   5. The proposed order would require that Mr. Woolridge drink no alcohol nor consume any

       controlled substances. Mr. Woolridge will abide by any additional requested orders of

       this Court during the period of the furlough.

   6. Mr. Woolridge is not a flight risk. He is from Albuquerque and he has never lived

       anywhere outside of New Mexico.

   7. Undersigned counsel has contacted Assistant United States Attorney, Letitia Carroll

       Simms, regarding this Motion. Ms. Simms indicates the government opposes a furlough.

     WHEREFORE, Defendant Lyron Woolridge respectfully requests that this Court allow him

a furlough of 12 hours to attend his grandfather’s funeral services on October 23, 2021. He

further requests a speedy disposition of this motion.




                                              Respectfully Submitted,

                                              FEDERAL PUBLIC DEFENDER
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                                              Electronically filed October 20, 2021
                                              /s/ Melissa A. Morris
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